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              Exhibit “B”
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                      IN THE STATE COURT OF GWINNETT COUNTY
                                 STATE OF GEORGIA

MONICA VELASQUEZ,

        Plaintiff,
   V.                                                  Civil Action File No: 21-C-00428-S5

ANN TAYLOR RETAIL, INC.,
AND JOHN DOES I-II,

        Defendants.

              DEFENDANT’S NOTICE OF FILING NOTICE OF REMOVAL

        TO:     Clerk, State Court of Gwinnett County, Georgia

        COMES NOW, Ann Taylor Retail, Inc., (“Defendant”), named Defendant in the above-

styled action, through counsel, without submitting to this Court’s jurisdiction and venue, and

provide the following notice to the Court:

        In compliance with 28 U.S.C. § 1446 (d), you are hereby notified of the filing of a Notice

of Removal in this action with the United States District Court for the Northern District of

Georgia, Atlanta Division, a copy of which is attached hereto. Pursuant to 28 U.S.C. §1446(d),

this Court is precluded from taking further action with respect to this case unless and until same

is remanded to it by order of the United States District Court for the Norther District of Georgia.

        This 19th day of March, 2021.
                                                     DREW, ECKL & FARNHAM, LLP


                                                     /s/ Stevan A. Miller
                                                     Stevan A. Miller
                                                     Georgia Bar No. 508375
303 Peachtree St. NE, Suite 3500
Atlanta, Georgia 30308
Telephone: (404) 885-1400
E-mail: smiller@deflaw.com
Attorneys for Defendant Ann Taylor Retail, Inc.
         Case 1:21-cv-01137-SDG Document 1-2 Filed 03/19/21 Page 3 of 11




                      IN THE STATE COURT OF GWINNETT COUNTY
                                 STATE OF GEORGIA

MONICA VELASQUEZ,

        Plaintiff,
   V.                                                  Civil Action File No: 21-C-00428-S5

ANN TAYLOR RETAIL, INC.,
AND JOHN DOES I-II,

        Defendants.

                                CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that I am counsel for Defendant Ann Taylor Retail, Inc., and that I

have this day served a true and correct copy of the foregoing Notice of Filing Notice of Removal

upon all parties to this matter by filing with the Court’s Odyssey eFileGA system, which will

automatically deliver electronic notification to the following counsel of record:

                                      Kathryn F. Burmeister
                                      Burmeister Law Firm, LLC
                                      300 Colonial Center Parkway, Suite 100
                                      Roswell, GA 30076

        This 19th day of March, 2021.
                                                     DREW, ECKL & FARNHAM, LLP


                                                     /s/ Stevan A. Miller
                                                     Stevan A. Miller
                                                     Georgia Bar No. 508375
303 Peachtree St. NE, Suite 3500
Atlanta, Georgia 30308
Telephone: (404) 885-1400
E-mail: smiller@deflaw.com
Attorneys for Defendant Ann Taylor Retail, Inc.
        Case 1:21-cv-01137-SDG Document 1-2 Filed 03/19/21 Page 4 of 11




          IN THE UNITED STATES DISTRICT COURT
             NORTHERN DISTRICT OF GEORGIA
                    ATLANTA DIVISION
MONICA VELASQUEZ,

        Plaintiff,
   V.                                            Case No.:

ANN TAYLOR RETAIL, INC.,
AND JOHN DOES I-II,

        Defendants.

                              NOTICE OF REMOVAL
        COMES NOW Defendant Ann Taylor Retail, Inc. (“Defendant”), and

Petitions for Removal of the action herein from the State Court of Gwinnett

County, Georgia to the United States District Court for the Northern District of

Georgia, Atlanta Division and respectfully shows the Court the following:

                                           1.

        Plaintiff Monica Velasquez (“Plaintiff”) filed a civil action in the State Court

of Gwinnett County, Georgia, styled Monica Velasquez v. Ann Taylor Retail, Inc.,

and John Does I-II, Civil Action File No. 21-C-00428-S5. (Attached as Exhibit

“A” are copies of all process, pleadings, and orders received by counsel for

Defendant in such action).
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                                         2.

      This Notice of Removal is filed within thirty (30) days of service upon

Defendant. Defendant was served with this action on February 17, 2021 and

consents to removal.

                                         3.

      The State Court of Gwinnett County, Georgia is within the Northern District

of Georgia, Atlanta Division, and removal to this Court is proper pursuant to 28

U.S.C. § 1441(a).

                                         4.

      Attached as Exhibit “B” is a copy of the Notice of Filing Notice of Removal

that is being filed with the State Court of Gwinnett County as required by 28

U.S.C. § 1446(d).

                                         5.

      Plaintiff in this action is Monica Velasquez who is a citizen of the State of

Georgia.

                                          6.

      Ann Taylor Retail, Inc. is corporation that is incorporated in Florida with its

principal place of business in New Jersey. Defendant is incorporated in a State




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other than Georgia and has its principal place of business in a State other than

Georgia. Defendant is not a citizen of Georgia.

                                          7.

      Complete diversity of citizenship exists between the parties in this case.

                                          8.

      Plaintiff’s Complaint seeks to recover for injuries from a burn. It is alleged

that the second-degree burn has resulted in hyperpigmentation to the left forearm.

She alleges, therefore, an ongoing cosmetic injury. She also alleges pain in her arm

that has not been relieved by medical care. She claims ongoing residual effects

from the injury and alleges pain and suffering “which is anticipated to continue

into the indefinite future.” (Second Amended Complaint, ¶¶ 23-27). Based on the

alleged damages the amount in controversy in this case exceeds $75,000.1 (See

Affidavit of Stevan Miller attached as Exhibit C).

                                          9.

      Therefore, this action is one over which this Court has diversity jurisdiction

pursuant to 28 U.S.C. § 1332, in that (a) Plaintiff and Defendant are citizens of


1
  While the amount in controversy satisfies the requirements for removal,
Defendant does not concede that it is liable to Plaintiff as alleged in the Complaint
and reserves all defenses including those related to Defendant’s bankruptcy
proceeding, In re: Ascena Retail Group, Inc., et. al., Case No. 20-33113-KRH,
United States Bankruptcy Court, Eastern Dist. of Virginia, Richmond Division.

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different states, and (b) the matter in controversy has a value, exclusive of interest

and costs, in excess of $75,000.

                                          10.

       Defendant reserve all defenses, including those of service, sufficiency of

process, venue, personal jurisdiction and bankruptcy, and will answer or present

other defenses within the time permitted by Federal Rule of Civil Procedure 81(c).

       WHEREFORE, Defendant prays that this Petition be filed, that said action

be removed to and proceed in this Court, and that there be no further proceedings

in said case in the State Court of Gwinnett County, Georgia.

       The undersigned has read this Notice of Removal, and to the best of his

knowledge, information and belief, formed after reasonable inquiry, determined it

is well-grounded in fact, is warranted by existing law, and is not interposed for any

improper purpose, such as to harass or to cause unnecessary delay or needless

increase in the cost of litigation.

       The undersigned reserves the right to amend or supplement this Notice of

Removal.

       WHEREFORE, these Defendant respectfully remove this action from the

State Court of Gwinnett County, Georgia to this Court under 28 U.S.C. §§ 1332,

1441, and 1446.


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      Respectfully submitted this 19th day of March, 2021.

                                            DREW ECKL & FARNHAM, LLP

                                            s/ Stevan A. Miller
                                            Stevan A. Miller
                                            Georgia Bar No. 508375
303 Peachtree St. NE, Suite 3500
Atlanta, Georgia 30308
Telephone: (404) 885-1400
E-mail: smiller@deflaw.com
Attorneys for Defendant Ann Taylor Retail, Inc.




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                  CERTIFICATE OF FONT COMPLIANCE

      Counsel for Defendant Ann Taylor Retail, Inc. hereby certify that the

forgoing has been prepared with one of the font and point selections approved by

the Court in LR 5.1(B): Times New Roman (14 point).

      This 19th day of March, 2021.

                                             DREW ECKL & FARNHAM, LLP



                                             s/ Stevan A. Miller
                                             Stevan A. Miller
                                             Georgia Bar No. 508375
303 Peachtree St. NE, Suite 3500
Atlanta, Georgia 30308
Telephone: (404) 885-1400
Facsimile: (404) 876-0992
E-mail: smiller@deflaw.com
Attorneys for Defendant Ann Taylor Retail, Inc.
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          IN THE UNITED STATES DISTRICT COURT
             NORTHERN DISTRICT OF GEORGIA
                    ATLANTA DIVISION
MONICA VELASQUEZ,

        Plaintiff,
   V.                                         Case No.:

ANN TAYLOR RETAIL, INC.,
AND JOHN DOES I-II,

        Defendants.

                         CERTIFICATE OF SERVICE
        I HEREBY CERTIFY that I am counsel for Defendant Ann Taylor Retail,

Inc. and that I have this day served the foregoing Notice of Removal upon all

parties to this matter by filing with the Court’s CM/ECF system, which will

automatically e-mail notification of same and by U.S. Mail to the following

counsel of record:

                          Kathryn F. Burmeister
                          Burmeister Law Firm, LLC
                          300 Colonial Center Parkway, Suite 100
                          Roswell, Georgia 30076
                          kathryn@burmeisterlawfirm.com

        This 19th day of March, 2021.

                                              s/ Stevan A. Miller
                                              Stevan A. Miller
                                              Georgia Bar No. 508375
      Case 1:21-cv-01137-SDG Document 1-2 Filed 03/19/21 Page 11 of 11




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Atlanta, Georgia 30308
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Attorneys for Defendant Ann Taylor Retail, Inc.




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